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Operational Clean Sweep Seach Checklist - Political and Election Mail

 

 

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Operational Clean Sweep Seach Checklist - Political and Election Mail

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